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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION
                       _____________________________________

SHELLY MIXON, et al.,

        Plaintiffs,

v.                                         Civil Action No. 4:20-CV-854-P
                                           (consolidated action)
WARDEN CARR, FMC-Carswell, et al.,

        Defendants.


                       DEFENDANTS’ MOTION TO DISMISS




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                                         I.   Introduction

        Plaintiffs in this consolidated case are federal inmates who are (or were)

incarcerated at Federal Medical Center, Carswell (FMC Carswell). In a two-count

consolidated complaint, they seek declaratory and injunctive relief against the Federal

Bureau of Prisons (BOP) and the FMC Carswell warden, based on allegations that the

conditions of Plaintiffs’ confinement at FMC Carswell—principally relating to safety

protocols during the COVID-19 pandemic—violate section 504 of the Rehabilitation Act

of 1973 and the Eighth Amendment of the Constitution.

        But as explained herein, Plaintiffs’ consolidated complaint has been rendered

moot in its entirety by changed circumstances. COVID-19 vaccines are now widely

available, and of the Plaintiffs still in custody at FMC Carswell, every Plaintiff but one

has now been fully vaccinated against COVID-19—and the one unvaccinated Plaintiff

was offered a vaccine but refused it.

        Regardless of mootness, Plaintiffs’ claims also fail for other independent reasons.

Plaintiffs fail to state any claim for relief under the Rehabilitation Act because the BOP is

not considered a program or activity governed by section 504 of that statute and, even if

it were, Plaintiffs do not allege any facts showing a section 504 violation. And Plaintiffs’

Eighth Amendment claim likewise fails. Plaintiffs have not established a jurisdictional

basis for this claim, and their allegations also fail to state any claim for relief because no

facts showing subjective deliberative indifference have been pleaded.

        For these reasons, and as further explained below, Defendants request that the

Court dismiss Plaintiffs’ consolidated complaint under Rule 12(b)(1) and (6).


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                                         II.   Background

        This action was commenced on August 3, 2020 by the filing of a single pro se

complaint submitted by 72 individual inmates at FMC Carswell. (See Doc. 7 at 4

(discussing the procedural history of the case); see also Doc. 1 (original complaint).)

Plaintiffs challenged the constitutionality of the conditions of their confinement at FMC

Carswell and raised numerous claims relating to the COVID-19 pandemic (e.g., claims

challenging Plaintiffs’ possible exposure to the virus, facility sanitation, and living

conditions). (Doc. 7 at 4.) Noting concerns with multi-plaintiff prisoner litigation,

including the need for each individual prisoner to sign her own pleadings, the possibility

of coercion among prisoners, and potential security issues, the Court severed the action

into separate cases for each individual plaintiff and ordered each to file her own

complaint. (Doc. 7 at 6–7.)

        After amended complaints were filed, the Court appointed pro bono counsel and

provided an opportunity for counsel to review the cases and file updated pleadings as

appropriate, and also to file a motion to consolidate if counsel viewed that as appropriate.

(See Doc. 21.) Counsel did file such a motion, (Doc. 22), which the Court granted, (Doc.

32), and a consolidated complaint was then filed on behalf of 33 Plaintiffs, (Doc. 33).

Notably, although FMC Carswell is a medical facility, it also houses “general population”

inmates who are not designated to FMC Carswell because of any medical issue, but

rather for other reasons which might include proximity to the inmate’s home, the

inmate’s security classification, or program availability. The 33 Plaintiffs on whose

behalf the consolidated complaint was filed are (or were) all such inmates housed in


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general-population housing units at FMC Carswell (with the exception of three Plaintiffs

who live on medical units not because of any medical designation of their own, but rather

because they have work-detail assignments as sanitation and inmate nursing assistants).

(App.1 003.)

        In the consolidated complaint, Plaintiffs bring claims under section 504 of the

Rehabilitation Act (codified as amended at 29 U.S.C. § 794) and the Eighth Amendment,

under theories that they have been exposed to “inadequate and dangerous conditions” at

FMC Carswell, primarily in connection with the COVID-19 pandemic. (Doc. 33, ¶ 1; see

also Doc. 1, ¶¶ 82–102.) They seek prospective injunctive relief that would require: (1)

the use of an unspecified “mitigation plan” against COVID-19 at FMC Carswell, to be

“overseen by a qualified public health expert”; (2) that “all necessary and appropriate

healthcare” be provided to inmates at FMC Carswell; and (3) the release of unspecified

inmates after Defendants are required to “[e]stablish a process” to identify inmates who

are “appropriate for release on home confinement, furlough or other release

mechanisms.” (See Doc. 33 at 24 (“Request for Relief” section).)

        Notwithstanding that Plaintiffs are seeking prospective relief, the allegations in the

consolidated complaint focus principally on events that occurred in 2020 or early 2021.

Plaintiffs reference a news report of a COVID-19 outbreak at FMC Carswell in July

2020, for example. (See Doc. 33, ¶ 56 & n.33.) Citing the BOP’s COVID-19 webpage,



1
 “App. __” citations refer by page number to the materials in the appendix to this motion. The Court
may consider materials from outside the pleadings in connection with a Rule 12(b)(1) motion. See
Williamson v. Tucker, 645 F.2d 404, 412–13 (5th Cir. 1981).



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Plaintiffs also allege that there were 153 COVID-19-positive inmates at FMC Carswell as

of February 8, 2021. (Doc. 33, ¶ 56 & n.35 (citing Fed. Bureau of Prisons, COVID-19

Coronavirus, www.bop.gov/coronavirus).)

        As the Court is no doubt aware, the situation with respect to COVID-19 has

changed dramatically since 2020 and early 2021. Although COVID-19 remains a threat

(including as new variants emerge), vaccines are now widely available and have proven

successful at mitigating the risk and spread of COVID-19. At FMC Carswell, 1,161

inmates have received a full COVID-19 vaccine course as of August 6, 2021.2 (App.

003.) Of the 33 Plaintiffs in this case, 29 are currently at FMC Carswell3 and of these, 28

Plaintiffs are now fully vaccinated and the other Plaintiff has been offered a vaccine, but

refused it. (App. 002; see also App. 004–143 (individual vaccine records for all

Plaintiffs).) As of August 6, 2021, there is only one COVID-19-positive inmate at FMC

Carswell (who was in quarantine when she was tested and was immediately moved to

medical isolation). (App. 003.)

                                     III.      Legal Standards

        Under Rule 12(b)(1), a case is properly dismissed when the court “lacks the


2
 FMC Carswell’s current inmate population is 1,439. See Fed. Bureau of Prisons, FMC Carswell,
www.bop.gov/locations/institutions/crw/ (accessed Aug. 9, 2021).
3
  Plaintiffs Ariel Bishop (released on July 2, 2021), Wendy Espinoza (released on May 11, 2021),
Eugenia Rowland (transferred to FCI Waseca), and Jessica Chronister (transferred to FCI Tallahassee) are
no longer at FMC Carswell. See Fed. Bureau of Prisons, Find an Inmate, www.bop.gov/inmateloc/
(search by inmates’ names to see current location or release status). In addition to the reasons given for
dismissal in this motion, these four Plaintiffs’ claims should be dismissed for the additional reason that a
prisoner’s claim for injunctive relief based on allegedly deficient conditions of confinement becomes
moot upon the prisoner’s transfer to another facility or release. See Edwards v. Johnson, 209 F.3d 772,
776 (5th Cir. 2000); Cooper v. Sheriff, Lubbock Cty., Tex., 929 F.2d 1078, 1081, 1084 (5th Cir. 1991).



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statutory or constitutional power to adjudicate the case.” Home Builders Ass’n of Miss.,

Inc. v. City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998) (citation omitted). “The

burden of proof for a Rule 12(b)(1) motion to dismiss is on the party asserting

jurisdiction.” Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001) (citation

omitted). “Accordingly, the plaintiff constantly bears the burden of proof that

jurisdiction does in fact exist.” Id. (citation omitted).

        A Rule 12(b)(6) motion to dismiss assesses the sufficiency of a complaint, testing

whether the plaintiff has pled sufficient facts to state a claim that is plausible on its face.

In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007) (citing Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). While “well-pleaded facts” are accepted

as true, id., threadbare recitals of the elements of a cause of action or conclusory

allegations are not, City of Clinton, Ark. v. Pilgrim’s Pride Corp., 632 F.3d 148, 153 (5th

Cir. 2010) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

                             IV.         Argument and Authorities

        The Court should dismiss Plaintiffs’ consolidated complaint in its entirety because

changed circumstances have rendered this action moot. Additionally, Plaintiffs’ claims

under section 504 of the Rehabilitation Act and the Eighth Amendment also fail for other

independent reasons.

A.      Widespread vaccine availability has rendered moot all of Plaintiffs’ claims
        based on allegedly dangerous conditions of confinement related to COVID-19.

        The Court should dismiss the consolidated complaint in its entirety because

Plaintiffs cannot show a presently-occurring injury in fact sufficient to support their



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continued standing and personal stake in the litigation. Put another way, even assuming

Plaintiffs were at some point threatened with alleged COVID-19-related injuries of the

type referenced in the consolidated complaint, Plaintiffs’ claims have by now been

rendered moot by changed circumstances.

        Standing addresses the question of who may properly bring suit in federal court,

and “is an essential and unchanging part of the case-or-controversy requirement of

Article III.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). The “irreducible

constitutional minimum” of standing requires a plaintiff to show (1) a concrete and

particularized injury in fact which is actual or imminent, not conjectural or hypothetical;

(2) a causal connection between the injury and the defendant’s conduct; and (3) that the

injury will likely be redressed by a favorable decision. Id. at 560.

        Standing is measured as of the date suit is filed, but the related doctrine of

mootness—which has been described by the Supreme Court as “‘the doctrine of standing

set in a time frame,’” Arizonans for Official English v. Arizona, 520 U.S. 43, 68 n.22

(1997) (quoting U.S. Parole Comm’n v. Geraghty, 445 U.S. 388, 397 (1980))—comes

into play when post-filing events have affected a plaintiff’s stake in the litigation. That is

the case here. To avoid mootness, “‘[t]he requisite personal interest that must exist at the

commencement of the litigation (standing) must continue throughout its existence

(mootness).’” Id. (quoting Geraghty, 445 U.S. at 397). Where, as here, a plaintiff is

complaining of a defendant’s alleged past noncompliance with some legal requirement,

“it is the plaintiff’s burden to establish standing by demonstrating that, if unchecked by

the litigation, the defendant’s allegedly wrongful behavior will likely occur or continue,


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and that the ‘threatened injury [is] certainly impending.’” Friends of the Earth, Inc. v.

Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 191 (2000) (quoting Whitmore v.

Arkansas, 495 U.S. 149, 158 (1990)).

        Plaintiffs seek declaratory and injunctive relief under a premise that Defendants

failed to adequately protect against the risk of COVID-19 at FMC Carswell. However, as

noted previously, to the extent Plaintiffs make any specific allegations about conditions at

FMC Carswell,4 those allegations focus on events occurring in 2020 or early 2021, such

as alleged COVID-19 outbreaks in July 2020 and February 2021. (See pp. 3–4, supra;

see also Doc. 33, ¶ 56.) Defendants do not agree that any constitutional or statutory

rights of Plaintiffs’ were ever violated at those or any other times, but even assuming

some violation did occur, “[p]ast exposure to illegal conduct does not in itself show a

present case or controversy regarding injunctive relief.” Bauer v. Texas, 341 F.3d 352,

358 (5th Cir. 2003) (internal quotation marks and citation omitted). Instead, to obtain

declaratory or injunctive relief based on an alleged past wrong, “a plaintiff must

demonstrate either continuing harm or a real and immediate threat of repeated injury in

the future.” Id. (citation omitted).

        For example, in City of Los Angeles v. Lyons, 461 U.S. 95, 98 (1983), the Supreme

Court considered whether a plaintiff who had been subjected to a chokehold by police

had standing to seek equitable relief in the form of (i) a declaration that the use of such



4
 Many of the allegations in the consolidated complaint are merely descriptions of COVID-19 itself or its
effect generally in a prison environment, without any specific tie-in to FMC Carswell. (See Doc. 33,
¶¶ 39–53.)



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chokeholds violated the Constitution and (ii) an injunction against their future use. The

Court explained that the plaintiff would have standing only if he could show that he

“would again be stopped for a traffic or other violation in the reasonably near future” and

“that strangleholds are applied by the Los Angeles police to every citizen who is stopped

or arrested regardless of the conduct of the person stopped.” Id. at 108. Noting that the

plaintiff did not claim to have been subjected to a chokehold on any other occasion, the

Court found that the “odds” of a repeat occurrence of the allegedly illegal conduct were

not “sufficient to make out a federal case for equitable relief.” Id.

        The same is true with respect to Plaintiffs’ claims that their Rehabilitation Act or

Eighth Amendment rights were violated at FMC Carswell during earlier periods of the

COVID-19 pandemic. A critical distinction between those past periods of time and the

present is that all Plaintiffs who are currently at FMC Carswell have now been fully

vaccinated against COVID-19 or have been offered a vaccine but refused to take it. (See

App. 002; see also App. 004–143.) According to the Centers for Disease Control and

Prevention, the COVID-19 vaccines that Plaintiffs have received (or been offered) are

safe and effective at preventing COVID-19 and are effective against severe disease and

death from variants of the virus, including the delta variant that is currently circulating.

See Ctrs. for Disease Control & Prevention, COVID-19, When You’ve Been Fully

Vaccinated, www.cdc.gov/coronavirus/2019-ncov/vaccines/fully-vaccinated.html

(accessed August 5, 2021). Moreover, COVID-19 infections happen in only a small

proportion of people who are vaccinated, and when these infections do occur in

vaccinated people, they tend to be mild. See id. Thus, COVID-19 vaccines are effective


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both at preventing COVID-19 infections and at minimizing the adverse effects of such

infections that do occasionally occur in vaccinated individuals.

         Under these circumstances, Plaintiffs fail to show sufficient “odds” of a threatened

injury in connection with another COVID-19 outbreak similar to the outbreaks that

Plaintiffs cite in their complaint in 2020 or early 2021, during times prior to widespread

vaccination. See Lyons, 461 U.S. at 108. Indeed, from reading Plaintiffs’ consolidated

complaint alone, one would not even know that COVID-19 vaccines exist. Even though

the consolidated complaint was filed in June 2021 at a time when Plaintiffs had all been

fully vaccinated (or had at least received the opportunity to be vaccinated, but refused),

Plaintiffs nowhere even mention the availability of COVID-19 vaccines in their pleading.

Yet the “opportunity for individually-identifiable inmates to opt to receive the COVID-19

vaccine represents a sea change from their previous COVID-19 infection vulnerability

and inability to protect themselves against the virus, even with comorbidities.” United

States v. Poupart, No. 3:11-CR-116 (JBA), 2021 WL 917067, at *1 (D. Conn. Mar. 10,

2021).

         The Court is not required to turn a blind eye to reality when assessing whether

Plaintiffs’ allegations establish a presently-existing injury in fact sufficient to support the

existence of jurisdiction at this time. Because they do not, the consolidated complaint

should be dismissed. See also Martinez v. CoreCivic, No. 20-1309, 2021 WL 2550319,

at *7 (D.N.M. June 22, 2021) (finding, with respect to claims filed by pretrial and post-

conviction detainees at a county jail, that the “availability of the vaccine at [the jail] also

moots this action (and strips standing from all detainees for all future risk-based


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coronavirus actions)” and that “the vaccine must smother all attempts by prisoners or pre-

trial detainees to request COVID-19-related relief based upon the theory that the risk of

infection violates the constitution”).

B.       Plaintiffs fail to state any claim under section 504 of the Rehabilitation Act.

         Section 504 of the Rehabilitation Act, which is codified as amended at 29 U.S.C.

§ 794, states in pertinent part that “[n]o otherwise qualified individual with a disability in

the United States . . . shall, solely by reason of her or his disability, be excluded from the

participation in, be denied the benefits of, or be subjected to discrimination under any

program or activity receiving Federal financial assistance . . . .”5 29 U.S.C. § 794(a)

(quoted by Plaintiffs in the consolidated complaint at Doc. 33, ¶ 83). Relying on this

provision, the first claim in Plaintiffs’ consolidated complaint asserts that Defendants

have violated section 504 “by failing to make the reasonable modifications necessary to

ensure equal access to programs, services, and activities for people with disabilities who

face high risk of complications or death in the event of COVID-19 infection.” (Doc. 33,

¶ 87.)

         But this claim fails for the simple reason that the BOP does not constitute a

“program or activity” under section 504 for purposes of allowing Plaintiffs to bring a


5
  Section 504(a) goes on to say “or under any program or activity conducted by any Executive agency or
by the United States Postal Service.” 28 U.S.C. § 594(a). However, Plaintiffs do not quote this portion of
the statute in their complaint and thus presumably are not relying on it. Even if they were, the analysis
would not change. Indeed, as explained below, the statute’s express inclusion of a reference to an
“Executive agency” is telling because the separate section of the Rehabilitation Act that sets out the
remedies for a section 504 violation does not create a remedy for section 504 violations in programs or
activities conducted by executive agencies, as opposed to programs or activities that merely receive
federal financial assistance.



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civil action under that statute. See Arawole v. Hiemanway, No. 4:04-CV-506-Y, 2005

WL 659133, at *2 (N.D. Tex. Mar. 22, 2005) (explaining that “courts have found that the

BOP does not fit the definition of ‘programs or activities’ governed by” section 504);

Webber v. Fed. Bureau of Prisons, No. 6:03-CV-79-C, 2005 WL 176122, at *9 (N.D.

Tex. Jan. 27, 2005) (same); Roark v. Flanery, No. 5:12-CV-60, 2014 WL 4447451, at

*27 (E.D. Tex. Sept. 9, 2014) (same); see also Acha v. Wolf, No. 20-1696, 2021 WL

537101, at *7 (W.D. La. Jan. 28, 2021) (“Courts have precluded federal detainees from

bringing Rehabilitation Act claims against the federal agencies housing them.”), report

and rec. adopted, 2021 WL 536243 (W.D. La. Feb. 12, 2021); Toure v. Huron, No. SA-

20-CV-1036-JKP, 2021 WL 75698, at *5 (W.D. Tex. Jan. 8, 2021) (explaining with

respect to a section 504 claim filed by an immigration detainee that “courts across the

country—including in this Circuit—have precluded federal detainees from bringing

Rehabilitation Act claims against the federal agencies housing them”). As this Court has

recently noted, “‘the Bureau of Prisons does not fit within the definition of programs or

activities governed by . . . Section 504 of the Rehabilitation Act.” Herndon v. Bureau of

Prisons, No. 4:20-CV-1129-P, 2021 WL 3036950, at *4 (N.D. Tex. July 19, 2021)

(quoting Roark, 2014 WL 447451, at *27) (internal brackets omitted).

        The unavailability of any section 504 claim against Defendants in this action is

further confirmed by section 505(a)(2) of the Rehabilitation Act (codified as amended at

29 U.S.C. § 794a), which specifies the remedies available for a violation of section 504.

See Lane v. Pena, 518 U.S. 187, 192 (1996) (explaining the interplay between sections

504 and 505). When considering section 505(a)(2), it is important to first recall that the


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relevant language of section 504 actually refers to two different types of programs and

activities in which disability discrimination is prohibited: (1) “any program or activity

receiving Federal financial assistance” and (2) “any program or activity conducted by any

Executive agency or by the United States Postal Service.” 29 U.S.C. § 794(a). The

statute thus creates a dividing line between (1) activities conducted by the federal

government itself (the latter group in the quoted language above, consisting of any

“Executive agency” or the Postal Service) and (2) activities conducted by non-federal

entities that are merely recipients of federal funds, such as state or local governments that

receive federal funds or other federal grantees. See id. With respect to the matters

complained of by Plaintiffs in this lawsuit, the BOP’s activities are clearly those of an

“Executive agency” rather than a mere “program or activity receiving Federal financial

assistance” (or a provider of funds to some non-federal grantee of this sort). See id. The

BOP is the agency within the Department of Justice charged with carrying out the prison

sentences of persons convicted of federal crimes, including Plaintiffs. It is acting as an

“Executive agency” with respect to Plaintiffs, not a federal grantee (or grantor).

        Returning to section 505(a)(2) and its specification of the remedies available for a

section 504 violation, the Supreme Court noted in Lane that section 505(a)(2) creates a

statutory remedy only for section 504 violations “‘by any recipient of Federal assistance

or Federal provider of such assistance.’” Lane, 518 U.S. at 192 (quoting 29 U.S.C.

§ 794a(a)(2)). This language is “telling,” the Supreme Court found, because it “makes no

mention whatsoever” of the other category of activities referred to in section 504, i.e.,

“program[s] or activit[ies] conducted by any Executive agency.” Id. (quoting 29 U.S.C.


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§ 794(a)). For purposes of the claim in Lane, which was for money damages, the

Supreme Court found that this language meant that sovereign immunity had not been

waived to authorize a section 504 claim against the government. See id. For essentially

the same reasons, no right of action would be available to Plaintiffs for injunctive relief

even if they did seek relief under a theory that the BOP is an “Executive agency” under

section 504. Section 505(a)(2) does not provide any such cause of action against the

government in the circumstances of this case.6

        Finally, even if BOP were assumed to be subject to a civil action under section

504, Plaintiffs still fail to state any claim for relief under the statute. “[T]o establish a

prima facie case[7] under the Rehabilitation Act, a plaintiff must show: ‘(1) the plaintiff is

an individual with a disability under the Rehabilitation Act; (2) the plaintiff is otherwise

qualified for participation in the program; (3) the plaintiff is being excluded from

participation in, being denied the benefits of, or being subjected to discrimination under

the program solely by reason of his or her disability; and (4) the relevant program or




6
  This is not to say that section 504 of the Rehabilitation Act is a dead letter as applied to activities and
programs conducted directly by the government. Section 504(a) directs the head of each agency to
promulgate regulations “necessary to carry out” the prohibition on disability discrimination in the
programs they conduct. 29 U.S.C. § 794(a). The Department of Justice has promulgated such a
regulation, which allows individuals who believe they have been discriminated against on the basis of a
disability in a program or activity conducted by the agency to file an administrative complaint, which then
triggers an investigation followed by a formal decision with findings of fact and conclusions of law, from
which the complainant has further appeal rights if he or she remains unsatisfied, including the right to a
hearing before an administrative law judge. See 28 C.F.R. § 39.170.
7
  To be clear, Defendants are not suggesting that Plaintiffs have an evidentiary burden to establish a prima
facie case at this stage of the case, as would occur at the summary-judgment stage under a McDonnell
Douglas-type analysis. Defendants are merely quoting this explanation from the caselaw to show what
the elements of a section 504 claim are.



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activity is receiving federal financial assistance.’” Toure, 2021 WL 75698, at *5 (quoting

Spann ex rel. Hopkins v. Word of Faith Christian Ctr. Church, 589 F. Supp. 2d 759, 764

(S.D. Miss. 2008)).

        Here, Plaintiffs’ claim fails at the first element because the consolidated complaint

contains no factual allegation establishing that any Plaintiff has a “disability” under the

Rehabilitation Act. (See Doc. 33.) Instead, the consolidated complaint refers generically

to the BOP’s alleged responsibilities toward “people with disabilities,” but without

showing that any particular Plaintiff is such a person. (See Doc. 33, ¶ 77; see also id.

(stating that “[i]ncarcerated people at Carswell who have any of these conditions are

medically vulnerable people with disabilities protected by the Rehabilitation Act,” but not

alleging that any particular Plaintiff is such a person).) The closest the consolidated

complaint comes to making any factual allegation on the issue of a disability is a

statement in paragraph 86 that “Plaintiffs are individuals with disabilities for the purposes

of the Rehabilitation Act.” (Doc. 33, ¶ 86.) However, that statement is entirely

conclusory and does not provide any factual support for its conclusion that Plaintiffs are

disabled within the meaning of the Rehabilitation Act. See City of Clinton, 632 F.3d at

153 (explaining that threadbare recitals of the elements of a cause of action or conclusory

allegations do not suffice). Moreover, the conclusory statement in paragraph 86 is

seemingly inconsistent with a reference elsewhere in the consolidated complaint to “[a]ll

Plaintiffs, including those with disabilities,” which seems to concede that not all Plaintiffs

are disabled within the meaning of the Rehabilitation Act. (See Doc. 33, ¶ 79.) In fact,

Plaintiffs have not pleaded that any Plaintiff is so disabled, and thus their consolidated


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complaint fails to satisfy the disability element of a section 504 claim.

        The consolidated complaint’s allegations are similarly deficient with respect to the

remaining elements of a section 504 claim. Plaintiffs do not plead facts showing that

they have been excluded from participation in, or denied the benefits of, any BOP

program or activity on the basis of any alleged disability. Again, there is no specific

allegation of even a single attempt by any Plaintiff to participate in some identified

activity or program that was unavailable by reason of the Plaintiff’s alleged disability. In

the absence of any such factual allegations, no claim is stated.

C.      Plaintiffs have not established jurisdiction for their Eighth Amendment claim
        and also fail to state any claim for relief.

        In addition to mootness, Plaintiffs’ Eighth Amendment claim should be dismissed

for several other independent reasons. As an initial matter, Plaintiffs fail to identify any

applicable waiver of sovereign immunity in their consolidated complaint. The United

States (including its agencies and employees sued in an official capacity) is “immune

from suit except as the United States has consented to be sued.” Williamson v. U.S. Dep’t

of Agric., 815 F.2d 368, 373 (5th Cir. 1987). “[A] waiver of the traditional sovereign

immunity cannot be implied but must be unequivocally expressed.” United States v.

Testan, 424 U.S. 392, 399 (1976) (internal quotation marks and citations omitted).

Sovereign immunity is “jurisdictional in nature,” F.D.I.C. v. Meyer, 510 U.S. 471, 475

(1994), and the “[p]laintiff bears the burden of showing Congress’s unequivocal waiver

of sovereign immunity,” St. Tammany Parish, ex rel. Davis v. FEMA, 556 F.3d 307, 315

(5th Cir. 2009).



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        The only jurisdictional statute cited by Plaintiffs in the consolidated complaint is

28 U.S.C. § 1331. (Doc. 33, ¶ 4.) But section 1331 “does not waive sovereign

immunity” for claims against the government. Cambranis v. Pompeo, No. 5:19-CV-238,

2020 WL 1447380, at *3 (W.D. Tex. Mar. 24, 2020) (internal quotation marks and

citations omitted). “Consequently, it is not enough to merely rely on § 1331 for

jurisdiction when suing the United States or its agencies.” Id.

        In a case filed in the Dallas Division on behalf of a group of inmates at another

BOP facility, Judge Boyle recently dismissed those plaintiffs’ complaint under almost

identical circumstances where the plaintiffs were attempting to rely on section 1331 for

Eighth Amendment claims against BOP officials. See Glenewinkel v. Carvajal, No. 3:20-

CV-2256-B, 2021 WL 2952833 (N.D. Tex. July 14, 2021). In Glenewinkel, the plaintiffs

alleged that the BOP had not implemented adequate safety protocols at FCI Seagoville

during the COVID-19 pandemic and sought declaratory and injunctive relief essentially

identical to the relief sought by Plaintiffs here. See id. at *1 (noting that the Glenewinkel

plaintiffs were seeking a declaratory judgement that the Eighth Amendment had been

violated and a court order requiring the implementation of a “mitigation plan” for

COVID-19 and for the provision of certain health care). Explaining that the plaintiffs’

reliance on section 1331 was unavailing because section 1331 “does not waive sovereign

immunity,” Judge Boyle dismissed the plaintiffs’ complaint for lack of jurisdiction under

Rule 12(b)(1).8 Id. at *3, *4. Plaintiffs’ consolidated complaint in this Court suffers


8
 The Glenewinkel plaintiffs also relied on several other statutes (not cited by Plaintiffs here), but Judge
Boyle determined that those statutes did not confer jurisdiction either. See Glenewinkel, 2021 WL


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from this same defect, and therefore should be dismissed for the same reason.

         Plaintiffs also fail to state any claim for relief under the Eighth Amendment.

Conditions of imprisonment violate the Eighth Amendment only if they, “alone or in

combination . . . deprive inmates of the minimal civilized measures of life’s necessities.”

Rhodes v. Chapman, 452 U.S. 337, 347 (1981). Such necessities include “adequate food,

clothing, shelter, and medical care.” Farmer v. Brennan, 511 U.S. 825, 832 (1994).

Thus, “extreme deprivations are required to make out a conditions-of-confinement

claim.” Hudson v. McMillian, 503 U.S. 1, 9 (1992).

         “To be tantamount to the infliction of cruel and unusual punishment, prison

conditions must pose ‘an unreasonable risk of serious damage’ to a prisoner’s health—an

objective test—and prison officials must have acted with deliberate indifference to the

risk posed—a subjective test.” Ball v. LeBlanc, 792 F.3d 584, 592 (5th Cir. 2015)

(quoting Helling v. McKinney, 509 U.S. 25, 33–35 (1993)). The deliberate indifference

required to state a constitutional claim “is an extremely high standard to meet,” Domino

v. Tex. Dep’t of Criminal Justice, 239 F.3d 752, 756 (5th Cir. 2001), and prison officials

act with such indifference only if they know an inmate faces a substantial risk of serious

harm and they disregard that risk by failing to take reasonable measures to alleviate it.

See Farmer, 511 U.S. at 837; accord Taylor v. Stevens, 946 F.3d 211, 221 (5th Cir.

2019).



2952833, at *3. Judge Boyle did grant leave to amend, after noting that the plaintiffs had made
arguments about asserting a Bivens claim in their response to the defendants’ motion to dismiss, but had
not actually pleaded such a claim in their complaint. See id. at *3–*4.



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        Defendants do not dispute that, objectively, COVID-19 presents a serious health

risk—both to inmates and to the prison staffers who work in close quarters with them, as

well as to the public at large. But Plaintiffs fail to plead any facts suggesting that

Defendants have demonstrated subjective deliberate indifference to the risks posed by

COVID-19. To the contrary, Plaintiffs’ consolidated complaint cites the BOP’s COVID-

19 webpage, which details the various preventative steps that the BOP has taken to

mitigate the risk of COVID-19 in its facilities. See Fed. Bureau of Prisons, COVID-19

Coronavirus, www.bop.gov/coronavirus (cited in Plaintiffs’ consolidated complaint at

Doc. 33, ¶ 56 & n.33).9 These steps include the use of modified operations plans to limit

visitation, maximize social distancing, and prevent congregate gatherings, as well as the

use of enhanced medical screenings. See id. (“BOP COVID-19 Modified operations

plan” section). The BOP has also employed widespread COVID-19 testing of inmates

(with 118,847 tests completed as of August 6, 2021) and is “committed to making the

vaccine available to all staff and inmates who wish to receive it as quickly as possible.”

Id. (“COVID-19 Vaccine implementation” section). This includes, at FMC Carswell, the

full vaccination of 1,161 inmates as of August 6, 2021. Id.

        Indeed, unlike the typical deliberate-indifference scenario where prison officials

are alleged to have ignored or exacerbated some condition specific to a particular

prisoner that has no possible adverse effect on prison officials (such as an illness that the



9
 The Court may consider these matters as part of the pleadings and as matters of public record that are
subject to judicial notice. See Wilkins v. Wolf, No. 1:20-CV-2450, 2021 WL 2376678, at *6 (M.D. Pa.
June 10, 2021) (taking judicial notice of a COVID-19 mitigation plan detailed on a county jail’s website).



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prisoner is suffering), it would be utterly illogical for prison officials to purposefully

disregard the risks of COVID-19 in the prison environment—if only for the simple

reason that this would also place the prison officials themselves at an elevated risk given

their day-to-day proximity to the prisoners they supervise.

        Plaintiffs also fail to state any claim for relief given that they are seeking forward-

looking injunctive relief, but their backward-looking allegations fail to plead a continuing

constitutional violation. Where, as here, prisoners have sued “only for prospective relief”

under the Eighth Amendment, there must be a showing that prison officials “‘knowingly

and unreasonably disregard[ed] an objectively intolerable risk of harm, and that they will

continue to do so.’” Valentine v. Collier, 993 F.3d 279, 282 (5th Cir. 2021) (emphasis

added) (quoting Farmer, 511 U.S. at 846). Thus, to establish eligibility for a declaratory

judgment or an injunction, “‘the inmate must demonstrate the continuance of that

disregard during the remainder of the litigation and into the future.’” Id. (emphasis

added) (quoting Farmer, 511 U.S. at 846). Put another way, inmates may only state a

claim to enjoin deliberate indifference “based on prison officials’ ‘current attitudes and

conduct,’” not exclusively based on past behavior. See id. (quoting Farmer, 511 U.S. at

845).

        Plaintiffs’ allegations focus exclusively on Defendants’ alleged failures in the past

in connection with COVID-19 and do not address the current state of affairs in which

vaccines are widely available and only one inmate at FMC Carswell is currently COVID-

19-positive. Plaintiffs’ consolidated complaint does not allege that Defendants’ “‘current

attitudes and conduct’” reflect unconstitutional deliberate indifference. See Valentine,


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993 F.3d at 282 (quoting Farmer, 511 U.S. at 845). Nor does the consolidated complaint

confront the widespread availability of the COVID-19 vaccine, which represents a “sea

change” from Plaintiffs’ (and all persons’) previous vulnerability to COVID-19. See

Poupart, 2021 WL 917067, at *1. Under these circumstances, Plaintiffs fail to state any

Eighth Amendment claim for declaratory or injunctive relief.

D.      Plaintiffs’ other miscellaneous allegations do not support any cause of action.

        In addition to discussing alleged deficiencies in Plaintiffs’ conditions of

confinement relating to COVID-19, the consolidated complaint also contains a few stray

references to other matters. However, none of these matters is developed in any

meaningful way as an independent claim and, in any event, none of these allegations

would support any such claim. For example, Plaintiffs refer briefly to a desire to seek

injunctive relief for allegedly inadequate conditions related to “record-breaking low

temperatures” at FMC Carswell in February 2021. (Doc. 33, ¶ 1.) However, no facts are

pleaded showing deliberate indifference by BOP officials in this regard, and it is also

“apparent from the face of the complaint” that any such claim could not have been

administratively exhausted before Plaintiffs filed suit, as required by the Prison Litigation

Reform Act. See Carbe v. Lappin, 492 F.3d 325, 328 n.9 (5th Cir. 2007); see also 42

U.S.C. § 1997e(a) (exhaustion requirement applicable to prisoner suits). This action was

filed in August 2020, so by definition any alleged claims relating to the freezing

temperatures and power outages experienced across Texas in February 2021 could not

have been administratively exhausted at that time.

        Plaintiffs also briefly assert that Defendants incorrectly denied unspecified


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requests for compassionate release or home confinement. (Doc. 33, ¶ 1.) But the only

court with jurisdiction to consider issues relating to a prisoner’s request for a

compassionate release is the prisoner’s sentencing court. See Himmel v. Upton, No. 4:18-

CV-804-O, 2019 WL 1112923, at *2 n.6 (N.D. Tex. Mar. 11, 2019). Similarly, “various

courts have recognized a district court has no jurisdiction to order home confinement

under the CARES Act, as that decision is reserved to BOP.” United States v. Gentry, No.

5:XX-XXXXXXX, 2020 WL 2131001, at *5 (W.D. La. May 5, 2020); see also United States

v. Miller, No. 2:17-CR-15-D, 2020 WL 2514887, at *1 (N.D. Tex. May 15, 2020)

(“[N]either the CARES Act nor the First Step Act authorizes the court to release an

inmate to home confinement.”). Plaintiffs also do not plead any specific facts supporting

any claim that some specific requests of theirs were improperly denied. No claim is

stated.

                                          V.   Conclusion

          For all these reasons, the Court should dismiss Plaintiffs’ consolidated complaint.




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                                                        Respectfully submitted,

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                                          Certificate of Service

        On August 9, 2021, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                        /s/ Brian W. Stoltz
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